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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,             :
                                      :   CASE NO.: 1:20-cr-00525-JPO
v.                                    :
                                      :
                                      :
JAMES CORBETT                         :
                                      :
       Defendant.                     :

                                     ORDER

       This matter is before the Court on Defendant’s Unopposed Motion to

Continue Pretrial Conference. For good cause shown, this motion is hereby

GRANTED. The pretrial conference shall be rescheduled for April 22, 2021 at

5:00PM. The Court finds that any delay resulting from this Order is excluded

from the Speedy Trial Act because it is based on good cause and in the interests of

justice, and granting this continuance outweighs the public and the Defendant’s

rights to a speedy trial.

       IT IS SO ORDERED, this 12th day of January, 2021.



                                                   The Honorable J. Paul Oetken
                                                   United States District Judge
